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Attorneys for Defendant and Third-Party PlaintiffRhema Health Products Inc.


                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


GARDEN OF LIFE, LLC,

         Plaintiff,

v.
                                                   ORDER GRANTING STIPULATED
RHEMA HEALTH PRODUCTS INC.,                      MOTION FOR EXTENSION OF TIME TO
                                                    FILE REPLY MEMORANDUM IN
         Defendant.                              SUPPORT OF MOTION FOR SUMMARY
                                                            JUDGMENT
RHEMA HEALTH PRODUCTS INC.,

         Third-Party Plaintiff,                           Case No. 2:16-cv-01222-BSJ

v.                                                           Judge Brnce S. Jenkins

TRI-ISO TRYLINE, LLC dba BAOBAB
FOODS,

         Third-Party Defendant.


         Before the Court is Rhema Health Products Inc. 's stipulated motion for a two-week

extension to file a reply memorandum in support of its motion for summary judgment. For good

cause showing, the motion is hereby granted. Rhema shall have until October 29, 2018 to file its

reply.
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     Signed October 10, 2018.




APPROVED AS TO FORM:

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